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                            U NITED STAT ES D ISTR ICT CO UR T
                            SO UTH ERN D ISTR ICT O F FL O R ID A

  lRA K LEIM A N ,as the personalrepresentative                               9:18-cv-80176-BB/B R
  ofthe Estate ofDavid K leim an,and W & K Info
  Defense Research,LLC

         Plaintiffs,



  CRA IG W R IGH T



       O RDER GRANTING PLAINTIFFS'M OTION FOR ISSUANCE OF LETTIIR
          ROGATO RY TO SUBPO ENA FOREIG N TH IRD PARTIES (DE 250)

        TH IS CA USE is before the Courton Plaintiffs'm otion for issuance of letter rogatory to

 subpoena foreign third partieslocated in the United K ingdom . DE 250.1 The Courthasreview ed

 the M otion and itsattached proposed letterrogatory.H aving considered the issuesraised therein,

 and being fully advised on the M otion,itishereby:

        ORDERED AND ADJUDGED thattheM otion isGRANTED withoutprejudiceforthe
 subpoenaed partiestoobject.TheCourthassignedtheattachedrequestforintemationaljudicial
 assistance.(Ex.1)TheClerkofthisCourtshallauthenticatetheCourt'ssignatureundertheseal
 of this Court and return the letter of request to Plaintiffs for transm ission to the Com petent

 A uthority in the United K ingdom .

        DONE AND ORDERED in chambersonthis22ndday ofJul $019.
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                                                                /
                                                                Bruce E.Reinhart
                                                                U nited States M agistrate Judge




 l The m otion indicates thatD efendanttakes no position on the reliefsought.
